  Case 3:18-cv-01352-S Document 53-1 Filed 05/10/19                 Page 1 of 2 PageID 663


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 LE-VEL BRANDS LLC,                                §
                                                   §
            Plaintiff,                             §
                                                   §
 v.                                                §       CASE NO. 3:18-cv-01352-S
                                                   §
 SHYLO ECKSTROM,                                   §
                                                   §
        Defendant.


                          DECLARATION OF KEVIN T. SCHUTTE


COUNTY OF DALLAS               §
                               §
STATE OF TEXAS                 §

       I hereby declare as follows:

        1.      “My name is Kevin T. Schutte. I am a member in good standing of the Texas Bar
and have been licensed to practice law in the State of Texas since 2001. I am a partner with the
law firm of Shapiro Bieging Barber Otteson LLP (“SBBO”), and I have personal knowledge of
the facts herein.

       2.     The statements contained herein are based on my personal knowledge and based on
my review of documentation maintained and kept by SBBO in the ordinary course of business.

         3.     This Declaration is being prepared in support of Le-Vel Brands, LLC’s (“Le-Vel”)
request for attorneys’ fees as a result of having to file its Motion for Contempt and for Sanctions
in light of Defendant Shylo Eckstrom’s conduct.

      4.     Le-Vel retained SBBO to represent it in the above-captioned matter. For this
engagement, Le-Vel agreed to pay SBBO a reasonable fee at SBBO’s standard hourly rates.

        5.      My billing rate for the representation of Plaintiff Le-Vel is $450.00 per hour. The
billing rate of Will Dunne is $335.00 per hour.

        6.     The billing rates in this matter are reasonable when compared to the hourly rates
charged in the Dallas/Fort Worth metropolitan area, when compared to attorneys with like or
similar years of experience and background, and when considering the complexity of the work
performed.

       7.       A summary of the fees incurred by Le-Vel in responding to is as follows:


DECLARATION OF KEVIN T. SCHUTTE                                                              PAGE 1
                                                                                      APP. 001
  Case 3:18-cv-01352-S Document 53-1 Filed 05/10/19                  Page 2 of 2 PageID 664


                  Attorney                    Total Hours       Hourly Rate         Fees
       Kevin T. Schutte                            8              $450.00        $3,600.00
       Will Dunne                                 15              $335.00        $5,025.00

       TOTAL FEES SOUGHT                                                         $8,625.00

       8.      If additional briefing is required to reply to Defendant’s response, Le-Vel will incur
additional fees not likely to exceed $5,000.00. The fees incurred by Le-Vel for this matter are
necessary and reasonable.”

        I declare under penalty of perjury under to laws of the State of Texas that the foregoing is
true and correct.

       Executed on this 10th day of May, 2019,




                                                   Kevin T. Schutte
                                                   Attorney for Le-Vel Brands, LLC




DECLARATION OF KEVIN T. SCHUTTE                                                               PAGE 2
                                                                                        APP. 002
